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 4                         UNITED STATES DISTRICT COURT

 5                        EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,               No.     2:08-cr-00197
 8                 Plaintiff,
 9        v.                                 ORDER
10   MICHAEL CRAIG DENNIS,
11                 Defendant.
12

13             Defendant filed an “Ex Part Application” on April 29,

14   2013, in which he seeks an order

15             directing the United States Probation Office
               to conduct a supplemental interview of
16             Defendant . . . for the purpose of preparing
               an    Addendum     to    [his]    Presentence
17             Investigation Report . . . limited to the
               issue of the nature and extent of [his]
18             substance abuse prior to sentencing and his
               amenability to treatment while incarcerated.
19

20   (Def.’s Ex Parte Appl. 1:21-2:1, ECF No. 151.)

21             The      government   shall     file      a   written    response    to

22   Defendant’s   Ex    Parte   Application       no   later   than   September   23,

23   2013. Defendant may file a written reply to the government’s

24   response no later than September 30, 2013.

25        Dated:     September 10, 2013

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